                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
__________________________________________
                                          )
UNITED STATES SECURITIES                  )
AND EXCHANGE COMMISSION,                  )
                                          )
                   Plaintiff,             )
          v.                              )   Civil Action No. 20-cv-327
                                          )
PHILLIP HUDNALL, TODD ESH,                )
BIRDDOG BUSINESS GROUP, LLC, and          )
BIRDDOG OIL EQUIPMENT, LLC,               )
                                          )
            Defendants,                   )
                                          )
DUC “DOUG” NGUYEN,                        )
BRIAN HUDNALL, DONDON, LLC,               )
KANSAS OIL RESERVES, LLC,                 )
KANSAS OIL RESERVES 2, LLC, and           )
PHARYN RESOURCES, LLC,                    )
                                          )
            Relief Defendants.            )
___________________________________       )

   PLAINTIFF SEC’S MOTION AND SUGGESTION FOR ENTRY OF PARTIAL
         JUDGMENT BY CONSENT AS TO DEFENDANT TODD ESH

       Plaintiff, the United States Securities and Exchange Commission (“SEC”)

respectfully moves the Court to enter the proposed Partial Judgment (“Proposed

Judgment”) as to Defendant Todd Esh based on Defendant Esh’s signed consent. A copy of

Defendant Esh’s consent to entry of the Proposed Judgment is attached as Exhibit A and a

copy of the Proposed Judgment is attached as Exhibit B. In support of this Motion, the SEC

states as follows:

       1.      The SEC filed its Complaint against Phillip Hudnall, Todd Esh, BirdDog

Business Group, LLC, and Birddog Oil Equipment, LLC, on April 23, 2020. (Dkt# 1.) The

Complaint alleges that Phillip Hudnall, Todd Esh, and their co-defendants committed


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securities fraud in violation of Section 17(a) of the Securities Act of 1933, [15 U.S.C. §

77q(a)] and Section 10(b) of the Securities Exchange Act of 1934 [15 U.S.C. § 78j(b)] and

Rule 10b-5 thereunder [17 CFR § 240.10b-5].

       2.      The SEC and Esh, in partial settlement of the SEC’s claims, have agreed to

the entry of the Proposed Judgment. Attached as Exhibit A is a Consent signed by Esh, in

which he agrees to the relief sought in the Proposed Judgment.

       3.      The Proposed Judgment eliminates the need to litigate the merits of Esh’s

liability and permanently enjoins Esh from violations of each of the provisions of the federal

securities law at issue in the Complaint.

       4.      The Proposed Judgment further provides that the monetary relief sought by

the SEC – in the form of disgorgement and civil penalties – shall be determined by the Court

at a later date. If the Parties are unable to resolve the issue of monetary relief, the SEC

anticipates moving for remedies as to Defendant Esh after the SEC’s claims against Phil

Hudnall and his co-Defendants are resolved. For the purpose of that determination, the

parties agree that the Court would accept the allegations in the Complaint as true. In SEC

enforcement actions, Courts have routinely entered judgment based on this type of

bifurcated settlement and have adopted the procedures described in the Consent for the

relief phase of proceedings. See, e.g., SEC v. Zenergy Int’l, Inc., 2016 WL 5080423 (N.D. Ill.

Sept. 20, 2016); SEC v. Merendon Mining Inc., 2012 WL 12916361, at *2 (W.D. Wash. Oct.

30, 2012); SEC v. Integrity Fin. AZ, LLC, 2012 WL 176228, at *2 (N.D. Ohio Jan. 20, 2012);

SEC v. Resources Planning Group, Inc., Case No. 12-cv-9509, Docket No. 51 (N.D. Ill. Sept.

29, 2014).




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       5.      In his Consent, Esh agrees that the SEC “may present the [Proposed]

Judgment to the Court for signature and entry without further notice.” (Ex. A, Consent, ¶

17).

       6.      Under Rule 54(b) of the Federal Rules of Civil Procedure, there is no

just reason to delay entry of the Proposed Judgment as to Defendant Esh. Entry of the

Proposed Judgment will resolve the issue of liability on all claims against Defendant Esh in

this action and will reserve the issue of monetary relief until a later date. There is little risk

of piecemeal appeals as Defendant Esh has waived his right to appeal from this judgment, as

reflected in Exhibit A. (Ex. A, Consent ¶ 6.)

       18.     Entry of the Proposed Judgment will conserve judicial resources, streamline

the issues in this litigation, and save the SEC and Esh the time and expense of continued

litigation on the issue of liability.

       WHEREFORE, for the reasons cited above, the SEC respectfully requests that the

Court grant this motion and enter the Proposed Judgment.



                                        UNITED STATES SECURITIES
                                        AND EXCHANGE COMMISSION

Dated: May 18, 2020                     Respectfully Submitted,


                                        UNITED STATES SECURITIES
                                        AND EXCHANGE COMMISSION

                                        /s/Timothy S. Leiman_______________

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                                        Attorneys for Plaintiff


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                              U.S. Securities and Exchange Commission
                              Chicago Regional Office
                              175 West Jackson Blvd., Suite 1450
                              Chicago, Illinois 60604
                              (312) 353-7390
                              (312) 353-7398 (facsimile)



                         CERTIFICATE OF SERVICE

      I hereby certify that on May 18, 2020, I caused a copy of PLAINTIFF SEC’S
MOTION AND SUGGESTION FOR ENTRY OF PARTIAL JUDGMENT BY
CONSENT AS TO DEFENDANT TODD ESH to be served on the following by email (by
agreement of counsel):

                                    Todd Esh
                               c/o Jane L. Stafford
                              Stafford Law Firm llc
                         4200 Somerset Drive, Suite 237
                            Prairie Village KS 66208
                              913-648-9225 (phone)
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                                           /s/Timothy S. Leiman
                                           Timothy S. Leiman




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